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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CLINTON PARKER, et al,            §
                                  §
     Plaintiffs,                  §
VS.                               §                  CIVIL ACTION NO. 4:12-CV-999
                                  §
HYPERDYNAMICS CORPORATION, et al, §
                                  §
     Defendants.                  §

                               FINAL ORDER OF DISMISSAL

       For the reasons expressed in this Court’s Opinion and Order issued this date in the above

styled and number cause of action, it is hereby

       ORDERED that this case is hereby DISMISSED.

       THIS IS A FINAL ORDER.



       SIGNED at Houston, Texas, this 25th day of August, 2015.


                                                  ___________________________________
                                                           MELINDA HARMON
                                                    UNITED STATES DISTRICT JUDGE




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